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                                                          Exhibit A to the Complaint
Location: Philadelphia, PA                                                                         IP Address: 108.52.5.150
Total Works Infringed: 25                                                                          ISP: Verizon Fios
 Work       Hashes                                                               UTC        Site          Published     Registered   Registration
 1          Info Hash:                                                           06-13-     Blacked       02-19-2019    03-24-2019   PA0002184061
            6D086E1CC31556A97BE20B50915D796AEF41EEFE                             2021
            File Hash:                                                           16:29:05
            83C01DAD173494B32410361647E2BCB7F4D7365F698E77C4483BFD570FD5ADD8
 2          Info Hash:                                                           05-30-     Blacked       05-10-2021    06-15-2021   PA0002296920
            A4217C332CF806017EE6C8CF1E5151DFF8833788                             2021       Raw
            File Hash:                                                           05:39:46
            A5C5CCE866EC37B20892846DE00B32E7F46D3E3BCED9E20695DD1B57A161F291
 3          Info Hash:                                                           05-28-     Tushy         05-02-2021    06-15-2021   PA0002296917
            C06BE5AD424DEAEEF37D595614E9A58994A24D7D                             2021
            File Hash:                                                           21:11:38
            87207896853FC7878F0A1A4855F64EAA036DFF4990658ADA4F201B5BF29BF304
 4          Info Hash:                                                           05-19-     Blacked       04-24-2021    04-27-2021   PA0002288981
            07505D1BF57DF4D79F0E6D0C802F273714F82B69                             2021
            File Hash:                                                           19:48:06
            44F977A16AFCEE2BD4C403DBB7510F28AEE06CA03510AAF7793782EF9C9D86CA
 5          Info Hash:                                                           05-19-     Blacked       10-17-2020    11-05-2020   PA0002263387
            37843E981F023C4F8A614866482FB097EADB6190                             2021
            File Hash:                                                           19:04:51
            E3220ED2ACA24FFAB45B969A40C2B53659F98D2F13A0E8C3D2A45D678DE4B327
 6          Info Hash:                                                           05-19-     Tushy         06-20-2018    08-07-2018   PA0002132405
            22E756AB10195C299D4EF6CDE019BC534B8A8E62                             2021
            File Hash:                                                           19:04:32
            D8B6C71B397F72973249127DBAB9D350C40C2FE7C334C10F818AE8833AF48BA9
 7          Info Hash:                                                           05-13-     Tushy         04-16-2018    06-18-2018   PA0002126681
            CCE9FA128205198C6A014556AFF4DC9D7866B695                             2021
            File Hash:                                                           18:33:28
            DC039FBA2E3A8C417DEB586E91B486E5E45000ADFAA1FD03BBEDA0A87D45A37C
 8          Info Hash:                                                           05-13-     Blacked       09-28-2020    10-22-2020   PA0002261800
            11317BD69D7E2FE51E3BDDC1C53B65643242CB9C                             2021       Raw
            File Hash:                                                           18:23:43
            F63C87FC2DE9AF3AE5B0803EA75F2ECD3EE51ACC21B0A12F11F155DB8E891C77
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         04-26-     Vixen     04-24-2018   06-19-2018   PA0002126671
       8A906C5A23F35028EFDE5B9C81D9EE277ACA0275                           2021
       File Hash:                                                         14:55:41
       43D9A39A71EC62D1217BFFF148FE60F03596FFA9FF4E1C286370A80E90AD5222
10     Info Hash:                                                         04-04-     Vixen     04-29-2018   06-19-2018   PA0002126677
       9C643ACA38FD9D470613CE49A612A20A07950A43                           2021
       File Hash:                                                         18:20:08
       64E50EA88C00946AADFD30510FF5F092E9ABBF74D00329AC26A1D2C1D3FBED82
11     Info Hash:                                                         03-26-     Tushy     02-25-2018   03-01-2018   PA0002079188
       47CE723D84C0A2028A53B98FE9431C963A280E54                           2021
       File Hash:                                                         19:06:12
       3B4131F8980F5B1897C386893963773E40C3EEECE0EF9820C958D8248BE7E58C
12     Info Hash:                                                         03-22-     Tushy     02-05-2020   03-15-2020   PA0002240545
       5DE0F105FC00E754C7A68603C1A8E3DD0386A030                           2021
       File Hash:                                                         06:11:35
       66005ED04FAA2FA043F36536FF1BA73147CB286F0AC9CCC4034E6F08ACDDA242
13     Info Hash:                                                         03-22-     Tushy     11-17-2018   12-10-2018   PA0002145827
       BFB0C6B34A693BC40981D11313056612733E3A70                           2021
       File Hash:                                                         06:11:24
       E34055F5852A70C622B59D143625DB8E1A4FCF516F5F7DD57D66C551CA45D632
14     Info Hash:                                                         03-10-     Blacked   09-17-2019   09-25-2019   PA0002203161
       75AAFCC83F053540C564E26015234507AD59D40E                           2021
       File Hash:                                                         19:06:36
       31D0D3686F31F8D213A5D9C8B5727BCE8463A4B28685D2EB05DD71F82B5B2DF4
15     Info Hash:                                                         02-27-     Vixen     02-12-2021   02-26-2021   PA0002283718
       1AF3F8C5CD2D418A21F8183C66EF882B8DC279C4                           2021
       File Hash:                                                         07:54:09
       63AC85A02517EDFFEAE01159074C030E540BBA373AFA5B1848D9791D97044858
16     Info Hash:                                                         02-20-     Tushy     08-09-2018   09-05-2018   PA0002135685
       654FDEBA4D88249E1F34D0661AB9A548091828CC                           2021
       File Hash:                                                         19:08:35
       8F91DA39430C2711DC1B6E92FB5E47B090DE8E67D9F33620B35E3F3ECA8DA5B4
17     Info Hash:                                                         02-20-     Blacked   02-16-2019   03-11-2019   PA0002158595
       4ED2350365BDA4C8207A8CCEDBC81B0340E58ABC                           2021       Raw
       File Hash:                                                         19:06:51
       42BFA57239AC6310293F89186960CE0FBAB1526442CDDA853D6141F6A6EFCD68
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         02-20-     Blacked   11-21-2018   12-18-2018   PA0002141915
       716BD92E139BE2039209B3F8C494B7A8356E4774                           2021       Raw
       File Hash:                                                         19:06:28
       D02255E8C093E98B712A51334068B516A9B2B7C10B0482D76261E8C7712FE1E0
19     Info Hash:                                                         02-20-     Blacked   06-09-2018   07-14-2018   PA0002130453
       AF96EE573EB75078F49ABE87BB1FE91A3F15C177                           2021
       File Hash:                                                         19:06:16
       68ED6A95AB2DCBC2551585DA2E428A2B9A052774D64B8426A22A6FFA825629F1
20     Info Hash:                                                         02-20-     Tushy     07-10-2018   08-07-2018   PA0002132397
       DBF08487A3D7FE3704DADAB3BEAE6159E4C2DA38                           2021
       File Hash:                                                         19:06:06
       EA3A14928D707D02CAF7EBA3F82F77CF7F36157B929DA6AD47BC4024001FF0CA
21     Info Hash:                                                         02-20-     Blacked   10-09-2018   11-01-2018   PA0002143427
       8BB074E225C6C871CDBD1831D394E9988502CEBD                           2021       Raw
       File Hash:                                                         19:05:40
       C406C0E49456756FC3028F4DC366017F54C0EEF93F480CB8E1064B8090DBCE6A
22     Info Hash:                                                         02-19-     Vixen     01-14-2019   02-02-2019   PA0002155387
       245BA267DA376101FB938D4952C9A96634CCF445                           2021
       File Hash:                                                         02:07:13
       FFE79D281ABC920AA5537B2D14FA01512797171DCE3DCA8EB4F3B3E85EFAC843
23     Info Hash:                                                         02-19-     Blacked   05-05-2018   05-24-2018   PA0002101366
       729F4F046005EFDCD2954C73FC9786EA9522F034                           2021
       File Hash:                                                         02:01:08
       BDA4C088BED8C71E60817F42F99A1FDE8F7F9E5D6112F08E2A704F70C8DECC2C
24     Info Hash:                                                         02-19-     Blacked   12-07-2020   12-28-2020   PA0002269082
       DB0A6C09AFAD8158D7C66AA690789A4FFF1E420F                           2021       Raw
       File Hash:                                                         01:59:59
       16C7BFE26C8FD0235DF2F746F947F27F88764464E2AA3A5129A6ADAA2B4B8F67
25     Info Hash:                                                         02-19-     Vixen     10-16-2020   11-18-2020   PA0002272621
       654CFBA775433926717A3E0D58C90196F0413460                           2021
       File Hash:                                                         01:54:55
       BE957B752D7675E37648F2D81C3040F9E272C6D4588CBDFAB6E52E785DD954C9
